                                   STATEMENT OF FACTS

        Your affiant,             , is a Special Agent with the Federal Bureau of Investigation
assigned to the Charlotte Field Office. In my duties as a Special Agent, I am assigned to the Joint
Terrorism Task Force (JTTF) and involved in the investigation of both international and domestic
terrorism. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The United States Capitol is secured twenty-four hours a day by U.S. Capitol Police.
Restrictions around the Capitol include permanent security barriers, temporary security barriers,
and posts manned by U.S. Capitol Police officers. Only authorized people with appropriate
identification are allowed access inside the Capitol. On January 6, 2021, the Capitol and the
exterior plaza of the Capitol were closed to members of the public.

       On January 6, 2021, a Joint Session of the United States Congress convened at the Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on Tuesday, November 3, 2020. The Joint Session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Michael
Richard Pence was present and presiding, first in the Joint Session, and then in the Senate
Chamber.

        As the proceedings continued in both the House and the Senate, and with the Vice President
present and presiding over the Senate, a large crowd gathered outside the Capitol. As noted above,
temporary and permanent barricades were in place around the exterior of the Capitol and its
grounds, and U.S. Capitol Police officers were present and attempting to keep the crowd away
from the Capitol and the proceedings underway inside.

        At such time, the Joint Session and certification proceedings were underway. The exterior
doors and windows of the Capitol were locked or otherwise secured. No member of the public was
allowed inside. U.S. Capitol Police officers attempted to maintain order and keep the crowd from
entering the Capitol, but around 2:00 p.m., individuals in the crowd broke windows and assaulted
U.S. Capitol Police officers. Others in the crowd encouraged and assisted those acts, and the rioters
forced their way into the Capitol.

        Shortly thereafter, at approximately 2:20 p.m. members of the House of Representatives
and Senate—including the President of the Senate, Vice President Pence—were instructed to and
did evacuate the chambers. Accordingly, the joint session of the United States Congress was
effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the Capitol
from the time he was evacuated from the Senate Chamber until the sessions resumed.




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climbing through the same broken-out window to the north of the Senate Wing Door that he
climbed out of at approximately 2:49 p.m. 4

                                          Identification

       A review of publicly available information and websites revealed that David Paul DANIEL
has several social media accounts with no privacy settings. In several posts and videos from his
accounts, DANIEL is seen wearing items that appear to be the same as the items he wore while at
the Capitol on January 6, 2021.

“Vault Boy” Beanie 5
        In several publicly available photographs and videos, DANIEL is wearing a beanie with
what appears to be a patch or embroidery of the animated character “Vault Boy” from the “Fallout”
video game franchise. As discussed above, it appears that the beanie is lost as DANIEL leads the
rioters in their push against the USCP officers at the Senate Wing Door (see Images 3a and 4a,
supra). While it is unclear whether he eventually found it or procured a new one in some other
manner, several videos and photos posted to DANIEL’s public Instagram account after January 6,
2021, show him wearing what appears to be the same beanie.




4
    See Image 7, supra.
5
    AKA watch cap, knit cap, toboggan, or toque.


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FBI Surveillance
        A surveillance team from FBI Charlotte were able to identify David Paul DANIEL’s
address of record through various sources, including a public records search and the address listed
on his Department of Motor Vehicles record. The FBI had a surveillance team observe that address,
and they observed an individual who appeared to match physical description of the individual
captured in images taken from the U.S. Capitol on January 6, 2021 believed to be David Paul
DANIEL.
                                           Conclusion

         Based on the foregoing, your affiant submits that there is probable cause to believe that
David Paul DANIEL violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault,
resist, oppose, impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 as
an officer or employee of the United States while engaged in or on account of the performance of
official duties.

        Your affiant submits there is probable cause to believe that David Paul DANIEL violated
18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of 18 U.S.C. § 231, a federally protected function means any function,
operation, or action carried out, under the laws of the United States, by any department, agency,
or instrumentality of the United States or by an officer or employee thereof. This includes the Joint
Session of Congress where the Senate and House count Electoral College votes.

        Your affiant submits that there is probable cause to believe that David Paul DANIEL
violated 18 U.S.C. §§ 1752(a)(1), (2), and (4), which make it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; and (4) knowingly engages in any act of physical
violence against any person or property in any restricted building or grounds; or attempts or
conspires to do so. For purposes of 18 U.S.C. § 1752, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is probable cause to believe that David Paul DANIEL violated
40 U.S.C. §§ 5104(e)(2)(D), (F), and (G), which make it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either


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House of Congress; (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 27th day of November, 2023.



                                                    MOXILA A. UPADHYAYA
                                                    U.S. MAGISTRATE JUDGE




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